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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-62219-CIV-COHN/SELTZER

 BARBARA GLATTER,

          Plaintiff,

 v.

 MSC CRUISES S.A.,

          Defendant.
                                            /


         ORDER DENYING TRANSFER TO UNITED STATES MAGISTRATE JUDGE

          THIS CAUSE is before the Court on the parties’ Consent to Proceed Before a

 United States Magistrate Judge [DE 10.] In accordance with the provisions of 28 U.S.C.

 636(c), the parties have voluntarily consented to have United States Magistrate Judge

 Barry S. Seltzer conduct all further proceedings in the case, including the trial and entry

 of final judgment. In light of the burgeoning caseload of all Fort Lauderdale magistrates,

 it is

          ORDERED AND ADJUDGED that the parties’ Consent to Proceed Before a

 United States Magistrate Judge [DE 10] is hereby DENIED.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 25th day of October, 2018.




 Copies provided to counsel of record via CM/ECF
